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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    CHRISTIE HARR,                                       )
                                                         ) Civil Action No. 2:21-cv-1560
                  Plaintiff,                             )
    v.                                                   )
    WASHINGTON AREA HUMANE SOCIETY,                      )
    HUMANE SOCIETY OF THE UNITED                         ) Electronically Filed
    STATES, HUMANE ANIMAL RESCUE,                        )
    ESTATE OF GLEN L. THOMSON, LAURA                     )
    KOIVULA, SHALIMAR OLIVER, SAMUEL                     )
    JENESKY, LEANA STORMONT, KELLY                       )
    PROUDFIT, KEN JERICHO, STEVEN                        )
    TOPRIANI, MARVIN DAVIS, JOHN W. PECK,                )
    JAMES R. HOPSON, JOHN DOES 1 THROUGH
    50,
                  Defendants.

         DEFENDANTS WASHINGTON AREA HUMANE SOCIETY, THE ESTATE OF GLEN L.
                 THOMSON, AND KELLY PROUDFIT’S MOTION TO DISMISS
               PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

          Defendants, WASHINGTON AREA HUMANE SOCIETY (“WAHS”), ESTATE OF GLEN

THOMSON1, and KELLY PROUDFIT, by and through their undersigned counsel, Robert J. Marino,

Esquire, and Dickie, McCamey & Chilcote, P.C., hereby move this Honorable Court to dismiss

Plaintiff’s Complaint Pursuant to Federal Rule of Civil Procedure 12(b)(6), and in support

thereof aver as follows:

          1.     Pro se Plaintiff, Christie Harr, initiated this action on October 29, 2021, asserting

violations of her civil rights under 42. U.S.C. § 1983 by numerous defendants, stemming from

an animal neglect investigation at two properties in which she was living and/or housing

animals pursuant to Search Warrants in October of 2019. See Ex. A and B, Affidavit of probable




1Plaintiff failed to properly name the personal representative of The Estate of Glen Thomson, in itself a reason to
dismiss the lawsuit.
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cause and search warrants issued by Washington and Westmoreland Counties respectively; Ex.

C (ECF 1), Plaintiff’s Complaint.

       2.       Plaintiffs’ Complaint appears to allege the following causes of action as to these

Defendants:

       a)       PART I - Unlawful searches and seizures in violation of Plaintiff’s Fourth, Fifth,
                and Fourteenth Amendment rights and common law conversion and intrusion
                upon seclusion;

       b)       PART III – Unlawful search and seizure (of cellphone) in violation of Plaintiff’s
                Fourth, Fifth, and Fourteenth Amendment rights and common law conversion;

       c)       PART IV - Unlawful searches and seizures in violation of Plaintiff’s Fourth, Fifth,
                and Fourteenth Amendment rights and common law invasion of privacy
                (intrusion on seclusion);

       d)       PART VI - Unlawful searches and seizures in violation of Plaintiff’s Fourth, Fifth,
                and Fourteenth Amendment rights and common law conversion and intrusion
                upon seclusion;

       e)       PART VII – Intentional Infliction of Emotional Distress; and,

       f)       punitive damages.

       3.       Plaintiffs’ Complaint fails to state any claim against WAHS, The Estate of Glen

Thomson and Kelly Proudfit for which relief may be granted.

       4.       The Defendant WAHS cannot be liable under § 1983 under a theory of respondeat

superior under Monell v. Dep’t of Soc. Srvs., 436 U.S. 658, 694 (1978).

       5.       Defendants, The Estate of Glen Thomson and Kelly Proudfit, are entitled to

qualified immunity with regard to Plaintiff’s §1983 claims.

       6.       Plaintiff’s claims are barred by issue claim and/or issue preclusion because the

jurisdiction of Thomson and whether the warrants were supported by proper jurisdiction and

probable cause have already been judicially determined. See, Ex. D, Criminal Complaint against

Harr; Ex. E, Harr Omnibus Pretrial Motion for Leave to File Brief in Support dated August 5,
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2021; Ex. F, Order dated April 4, 2022 holding jurisdiction and warrants were proper; Ex. G,

Plea and Sentencing Order, including Colloquy ; Ex. H, Transcript of Plea and Sentencing Hearing

dated September 9. 2022; Ex. I, Criminal Docket Sheet dated January 16, 2023.

       7.     The Courts have also ruled in a separate case that Plaintiff must reimburse WAHS

for the costs of care for the properly seized animals pursuant to 18 Pa. C.S.A. § 30.5 See, Ex. J,

Opinion and Order dated March 9, 2021; and Ex. K, Order dated August 10, 2022.

       8.     Plaintiff has failed to plead state law claims (conversion, intrusion upon

seclusion, and intentional infliction of emotional distress) properly, and/or to set forth a factual

basis, requires dismissal of all of these claims as a matter of law.

       9.     Plaintiff’s claims for intrusion upon seclusion, Parts I, II, III, and VI, must also be

dismissed because plaintiff failed to bring these claims within the one year statute of limitations

pursuant to 42 Pa. C.S § 5523(1).

       10.    Plaintiff’s request for relief in the form of punitive damages must be stricken.

       11.    Pursuant to Federal Rule of Civil Procedure 12(b)(6), Plaintiff’s Complaint should

be dismissed for failure to state a claim for which relief may be granted.

       WHEREFORE, Defendants respectfully request that this Honorable Court grant this

Motion and dismiss all claims of Plaintiff’s Complaint, with prejudice.
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                                        Respectfully submitted,

                                        DICKIE, McCAMEY & CHILCOTE, P.C.



Date: January 17, 2023                  By:   /s/    Robert J. Marino

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                                        Attorneys for Defendants, WASHINGTON
                                        AREA HUMANE SOCIETY, THE ESTATE OF
                                        GLEN THOMSON AND KELLY PROUDFIT
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                                CERTIFICATE OF SERVICE

      I, Robert J. Marino, hereby certify that a true and correct copy of the foregoing Motion

to Dismiss has been served upon all counsel of record, via CM/ECF filing, this 17th day of

January, 2023.

                                                DICKIE, McCAMEY & CHILCOTE, P.C.



                                                By:    /s/    Robert J. Marino

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                              CERTIFICATION OF GOOD FAITH

        I, Robert J. Marino, hereby certify that on January 13, 2023, counsel for Defendants

herein conferred with Plaintiff to determine whether the identified pleading deficiencies

properly may be cured by amendment prior to filing the foregoing Motion to Dismiss Plaintiff’s

Complaint Pursuant to Federal Rule of Civil Procedure 12(b)(6) filed on behalf of Defendants,

WAHS, The Estate of Glen Thomson, and Kelly Proudfit. Plaintiff would not agree to amendment

or voluntary dismissal of the Complaint.

                                                 DICKIE, McCAMEY & CHILCOTE, P.C.



                                                By:    /s/    Robert J. Marino

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